Case 2:05-cr-20150-SHI\/|-ch Document 26 Filed 08/30/05 Page 1 of 2 Page|D 25

FII.ED BY',YZ,Z f. D»Q.
:cN THE uN:c'.:'ED s'rA'rEs D:l:s'rnrc:'r coUR'r »‘

FoR 'rI-m wEsTERN D:s'rnrc'r or TENNEssE `
WESTERN DIVISION E 05 AUG 30 AH l|: 36

H{LMSM.GJID

. . ~\J
. Ti‘-." ,F »
UNITED sTATEs oF AMERICA W)UGC_ hé*MPHIS
Plaintiff,

VS. CR. NO. 05-20150-D

WILLIAM VISOR
Defendant.

\~_»~_.a..,_,\_,~__¢-~_¢`_¢~._»~._»

 

ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on August 25, 2005, the United
States Attorney for this district, Katrina U. Earley, appearing for the
Government and the defendant, William Visor, appearing in person and
with counsel, J. Patten Brown, III, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for THURSDAY, NOVEMBER 17, 2005. at
1:30 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this thei;i day of August, 2005.

 

 

` `nce
Th!s document entered on the docks e n 0 1a

w|th Flule 55 and!or 32(b) FRC:P on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:05-CR-20150 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

ESSEE

 

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

